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            EXHIBIT C
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From:                                         John Padilla <jpadilla@pandrlaw.com>
Sent:                                         Monday, January 20, 2014 11:46 AM
To:                                           Shardonofsky, Steve; Watson, Tim
Cc:                                           'Rhonda Wills'; 'Rhonda Wills'; 'Moises Cedillos'
Subject:                                      Vangelakos


Steve and Tim,

REDACTED PURSUANT TO FRE 408




If we are going to proceed with depositions, we will need the clients' emails with sufficient time to digest them. In
addition, we will potentially need time to get them converted to a usable format by our IT consultant. This will take time
                                                                                                                                                     REDACTED PURSUANT TO FRE 408
and I presume some cost. Given Tim's prior comments about the cost of the process of gathering the emails,
                                                it makes sense to postpone the depositions. Please let me know your
thoughts on this matter. In any event, as of yet, I have not confirmed everyone's availability for February 13 and 14
since we don't have a commitment on the emails.

Finally, will you agree to a two week extension on our clients' responses/objections to Defendants' Request for
Production and Interrogatories?

REDACTED PURSUANT TO FRE 408                                                                                                                  Therefore, I will
send a follow up letter for you to sign granting us the extension if you will agree.

Thanks,

John


PLEASE NOTE MY NEW E-MAIL ADDRESS: jpadilla@pandrlaw.com. Thank you.

John M. Padilla
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Houston, Texas 77056
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